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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 18-20682-CR-ALTONAGA

  UNITED STATES OF AMERICA,

          Plaintiff,
  v.

  MATTHIAS KRULL,

        Defendant.
  ______________________________/

                                            ORDER

          THIS CAUSE came before the Court on the Motion to Seal [ECF No. 104]. Being fully

  advised, it is

          ORDERED AND ADJUDGED that the Motion is GRANTED. The documents are

  permitted to be filed under seal and shall remain under seal until March 23, 2022. This Order

  shall not be filed under seal.

          DONE AND ORDERED in Miami, Florida, this 23rd day of March, 2021.




                                                       _________________________________
                                                       CECILIA M. ALTONAGA
                                                       UNITED STATES DISTRICT JUDGE

  cc:     counsel of record
